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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

MARIE HANSON,
  Plaintiff

VS.                                                                NO. __________
                                                                   JURY DEMANDED
JERRY BLAKEMORE, and
TN JUDICIAL COURT
SUPPORT, INC.,
   Defendants
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

                                           Introduction

        1. This is an action for money damages brought pursuant to 42 U.S.C. §§ 1983 and 1988,

and the Fourth and Fourteenth Amendments to the United States Constitution, and under the

common law of the State of Tennessee, against Probation Officer Jerry Blakemore (“Defendant

Blakemore”), and his employer TN Judicial Court Support Incorporated, Blakemore’s employer.

Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343, and on the pendent jurisdiction of this

Court to entertain claims arising under state law.

        2. Venue is proper pursuant to 28 U.S.C. § 1391, as all the Defendants are residents of

this district and/or all the acts or omissions which give rise to this cause of action occurred

within this district.

        3. It is alleged that Defendant Blakemore caused an unreasonable seizure of the person of

Marie Hanson (“Plaintiff”) by swearing out a warrant containing material misrepresentations,

leading to false arrest and imprisonment of her, and maliciously prosecuting her, violating her

rights under the Fourth and Fourteenth Amendments to the United States Constitution. It is
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alleged that Defendant Blakemore, caused the false arrest and imprisonment of the Plaintiff, and

that he maliciously prosecuted the Plaintiff in violation of Tennessee law.

                                               Parties

       4. The Plaintiff was at all material times a resident of Parsons, Decatur County,

Tennessee, and of full age.

       5. Defendant Jerry Blakemore was at all times relevant to this complaint a duly appointed

and acting probation officer in the court system of Perry County, acting under color of law, to

wit, under color of the statutes, ordinances, regulations, policies, customs, and usages of the State

of Tennessee and/or Perry County, Tennessee.

       6. TN Judicial Court Support, Inc. (“TJCSI”) is incorporated under the laws of the State

of Tennessee and has its principal place of business in Big Sandy, Tennessee. TJCSI operates a

licensed private probation company that serves the General Sessions Court in Perry County,

Tennessee, and TJCSI’s employees and agents are acting under color of state law in all of their

activities with respect to probation services provided in Perry County.

                                               Facts

       7. Plaintiff was convicted of driving on a suspended license in Perry County General

Sessions Court on October 23, 2012, following a guilty plea;

       8. She was sentenced to a $10.00 fine plus court costs, and six (6) months unsupervised

probation;

       9. The Plaintiff’s sentence was memorialized in a written order signed by the judge and

contained no conditions of probation, and required no minimum monthly payment on the fine

and cost;



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         10. Although she was ordered to unsupervised probation, the Plaintiff was instructed to

contact a local probation officer initially to provide her contact information;

         11. Pursuant to the Rules of Tennessee Private Probation Services Council 1177-2-.01(a)

private probation companies are to only supervise, “misdemeanor defendants sentenced by a

proper order of probation to be supervised by the private entity….”

         12. As instructed, Plaintiff called the probation office, but no one answered, and a voice

message indicated that the office was only open on certain days and to call back on those days;

         13. Plaintiff took note of the office’s days and hours and called back;

         14. At that time, she spoke with a person she believes was a probation officer and

provided them with her contact information;

         15. Plaintiff also told the probation officer that she had no means of transportation;

         16. The individual replied that the lack of transportation was no problem, and that since

she was unsupervised, she only needed to let them know when she made a payment on fine and

costs;

         17. On November 30, 2012, just over a month after she was sentenced, Defendant

Blakemore, a probation officer with TJCSI, filed a probation violation warrant in which he swore

that the Plaintiff was on supervised probation, and had failed to report or pay as ordered;

         18. The statements in the violation warrant were materially false and misleading;

         19. Based upon these statements, the Court made a probable cause determination that the

Plaintiff had violated her probation by failing to comply with the orders of court and the rules of

probation;

         20. In fact, Plaintiff had done neither;



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          21. The warrant went unserved for two (2) months, until February 1, 2013, when the

Plaintiff’s sister was served in error;

          22. The violation was reset for April 2013, by order of court to allow the Plaintiff to be

served;

          23. On February 15, 2013, the Plaintiff was served with a Notice of Hearing, which stated

she must appear in court on April 7, 2013, or be arrested; Plaintiff was not advised why she must

appear in Court;

          24. On March 25, 2013, Plaintiff paid her fine and cost in full to the Perry County

General Sessions Court, and reported this payment to the probation office;

          25. When she reported her payment, a probation officer with TJCSI, stated she would not

need to appear in Court;

          26. On April 9, 2013, Plaintiff did as advised, and did not appear for the “probation

violation” hearing;

          27. At that time, the clerk of court signed as affiant on a warrant for failure to appear for

a probation violation hearing;

          28. Plaintiff was arrested on June 15, 2013, for failure to appear;

          29. At the time of her arrest, Plaintiff’s sentence had expired;

          30. At no time did Plaintiff fail to follow orders of Court, or rules of probation;

          31. The misstatements in the violation warrant were the proximate and actual cause of

Plaintiff’s arrest.

          32. Plaintiff was held for ten (10) days in the Perry County Jail;

          33. Upon appearing in court on June 25, 2013, Plaintiff’s violation was dismissed on

Motion of the State of Tennessee;

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                       COUNT I - 42 U.S.C. § 1983 Against Defendants

       34. Paragraphs 1 through 33 are incorporated herein by reference as if fully set forth.

       35. TJCSI and Blakemore committed the above described actions and/or omissions under

the color of law and by virtue of their authority as a probation officer/company in Perry County

and substantially deprived Plaintiff’s of her clearly established rights, privileges and immunities

guaranteed to her as a citizen of the United States in violation of 42 U.S.C. Section 1983, and

deprived Plaintiff of the rights guaranteed to her by the Fourth and Fourteenth Amendments of

the United States Constitution including, but not limited to:

       a.       Freedom to be secure at one’s property and home;
       b.       Freedom from unreasonable search and seizure of their persons;
       c.       Freedom from derivation of liberty and property without due process of law;
       d.       Freedom from false arrest and imprisonment;
       e.       Freedom from malicious prosecution;
       f.       Freedom from arbitrary governmental activity which shocks the conscience of a
                civilized society.


       36. In violating the Plaintiff’s rights as set forth above, Defendant Blakemore acted under

color of state law and caused the unreasonable and illegal seizure of the Plaintiff in violation of

the Plaintiff’s clearly established rights under the Fourth and Fourteenth Amendments to the

Constitution.

       37. Defendant Blakemore caused Plaintiff to be falsely arrested and imprisoned without

probable cause where she remained in jail for ten (10) days before her release.

       38. Defendant Blakemore further maliciously prosecuted the Plaintiff in violation of her

rights under the Fourth and Fourteenth Amendments when he swore out a warrant that lacked

probable cause and contained false statements.


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         39. Said affidavit was the sole and driving force behind legal process being issued against

the Plaintiff.

         40. The charge was later dismissed on Motion of the State of Tennessee.

         41. As a direct and proximate result of the violation of his constitutional rights by the

Defendants, the Plaintiff suffered damages as set forth hereinabove and is entitled to relief under

42 U.S.C. § 1983.

         42. The conduct of the Defendants was willful, malicious, oppressive, and/or reckless,

and was of such a nature that punitive damages should be imposed in an amount commensurate

with the wrongful acts alleged herein.

                 COUNT II – State Law Claims of False Arrest and Imprisonment

                                          Against Defendants

         43. Paragraphs 1 through 42 are incorporated herein by referenced as though fully set

forth.

         44. In committing the acts complained of herein, Defendant Blakemore acted under color

of state law by causing the false arrest and imprisonment of Plaintiff with no basis in fact or law

to do so.

         45. The Plaintiff was detained and restrained against her will, both in the squad car and

later at the Perry County Jail, where she was held for ten (10) days without probable cause for

her arrest or imprisonment.

         46. As a direct and proximate result of the violation, the Plaintiff suffered serious and

personal injuries and damages as set forth hereinabove.

                    COUNT III – State Law Claim of Malicious Prosecution

                                         Against Defendants

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         47. Paragraphs 1 through 46 are incorporated herein by referenced as though fully set

forth.

         48. The probation violation was brought against the Plaintiff absent probable cause.

         49. The charge was brought against the Plaintiff maliciously, in willful, wanton, reckless,

and/or oppressive disregard of the Plaintiff’s rights.

         50. Upon information and belief, Defendant Blakemore’s affidavit was the sole and

driving factor in the issuance of legal process against the Plaintiff.

         51. The charge was dismissed on Motion of the State of Tennessee.

         52. The Plaintiff suffered incarceration, humiliation, embarrassment and financial

damages as a result of having to contest the charge.


         WHEREFORE, the Plaintiff requests that this Court:

         a. Empanel a jury to try the issues herein;

         b. Award compensatory damages to the Plaintiff against the Defendants, jointly and

severally;

         c. Award the Plaintiff punitive damages;

         d. Award costs of this action to the Plaintiff;

         e. Award reasonable attorney’s fees to the Plaintiff pursuant to 42 U.S.C. § 1988;

         f. Award such other and further relief as this Court may deem appropriate.

                                                           Respectfully submitted,


                                                           s/ Leanne A. Thorne
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